Dear Secretary Carnahan:
This opinion letter responds to your request dated December 1, 2008, for our review under Section 116.332, RSMo, of the sufficiency as to form of an initiative petition submitted by Ron Calzone, regarding a proposed constitutional amendment related to Article I (version 2).
We conclude that the petition should be rejected for the following reason:
  • The petition includes a separate section labeled "Petition footnote," an introduction, and text from a constitutional article other than Article I. The material is not explicitly authorized by law, and could cause confusion.
Because of our rejection of the form of the petition for the reason stated above, we have not reviewed the petition to determine if additional deficiencies exist. Pursuant to Section 116.332.3, RSMo, the Secretary of State is authorized to review this opinion and "make a final decision as to the approval or rejection of the form of the petition."
                                      Very truly yours,
                                      __________________
                                      Karen King Mitchell
                                      Deputy Attorney General *Page 1 